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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                  NO. 4:10CR00165-02 JLH

DAVID FRANCO-TINAJERO                                                               DEFENDANT

                                          JUDGMENT

       Pursuant to the Opinion and Order entered separately today, David Franco-Tinajero’s motion

under 28 U.S.C. § 2255 is denied. No certificate of appealability will be issued.

       IT IS SO ORDERED this 2nd day of August, 2012.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
